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                                      UNITED STATES BANKRUPTCY COURT

                                                       FOR THE

                                         EASTERN DISTRICT OF VIRGINIA
                                               Alexandria Division

      In re:                              :
                  Michelle Campbell-Thomas:                          Chapter 13
                                          :                          Case No. 07-11516-RGM
            Debtor                        :
      ____________________________________:
                                          :
      America’s Servicing Company         :
            Plaintiff                     :
                                          :                          Relief From Stay
      v.                                  :                          Contested Matter
                                          :                          No.
      Michelle Campbell-Thomas            :
            Respondents                   :

               DEBTORS ANSWER TO MOTION FOR RELIEF FROM STAY OF
                         AMERICA’S SERVICING COMPANY

                  Debtor, through undersigned counsel, responds to the Motion for

      Relief from the Automatic Stay filed herein by America’s Servicing Company as

      follows:

                  1.              The allegations of paragraphs 1, 2, 3, 4 and 6 are admitted.

                  2.              The allegations of paragraphs 5 and 7 are denied.



      _______________________
      Nathan Fisher, VSB #37161
      Counsel for Debtor
      3977 Chain Bridge Rd., #2
      Fairfax, VA 22030
      (703) 691-1642
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             3.     The subject property is necessary for an effective reorganization

      as it constitutes a primary motivation for the filing of the petition herein;

             4.     There is currently equity in the subject property.

             5.     To the extent that a post-petition mortgage arrearage exists, same

      can be cured by adding the arrearage into the remaining term of the chapter 13

      plan or by the debtor making his regular mortgage payment, along with a

      partial mortgage payment, over a period of six months time.

             WHEREFORE, because 11 U.S.C. 362(d) of the Bankruptcy Code

      provides that the Court shall grant a party in interest relief from the stay:

      (1) "for cause, including the lack of adequate protection of an interest in

      property of such party in interest," (11 U.S.C. 362(d) (1) ), or, alternatively,

      (2) if "the debtor does not have an equity in such property and such property

      is not necessary to an effective reorganization," (11 U.S.C. 362(d) (2) (A) &

      (B) ), and because in this case the movant's interest in the subject property is

      adequately protected and the subject property is necessary to an effective

      reorganization, Debtor requests that this Court deny Plaintiff's Motion for

      Relief from Stay, and for such other relief as this Court deems appropriate.
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      Dated: September 12, 2007                          Respectfully Submitted
                                                         Michelle Campbell-Thomas
                                                         By Counsel:
                                                         /s/ Nathan Fisher
                                                         Nathan Fisher
                                                         3977 Chain Bridge Rd., #2
                                                         Fairfax, VA 22030
                                                         (703) 691-1642




                                CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 12th day of September, 2007, I served
      the foregoing, via first-class mail, on the following, who are all necessary parties
      under Local Rule 4001(a)-1(E)(1):

      Gerald M. O'Donnell                         Michelle Campbell-Thomas
      211 North Union Street,                     3479 Beale Court
      Suite 240                                   Woodbridge, VA 22193
      Alexandria, VA 22314

      Eric D. White, Esq.
      Samuel I. White, P.C.
      1804 Staples Mill Rd., Ste. 200
      Richmond, VA 23230

                                                         /s/ Nathan Fisher
                                                         Nathan Fisher
